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                                   6                               UNITED STATES DISTRICT COURT

                                   7
                                                                  NORTHERN DISTRICT OF CALIFORNIA
                                   8

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                                  10   UNITED STATES OF AMERICA,
                                  11                 Plaintiff,                            No. CR 14-00175 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   PACIFIC GAS AND ELECTRIC                            QUESTION RE FAST-TRIP
                                       COMPANY,                                            MITIGATION
                                  14
                                                     Defendant.
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                                  17        19. Please explain in your filing due September 24 all differences (and similarities)

                                  18   between Fast Trip Mitigation versus simply reducing the Minimum To Trip.

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                                  20        IT IS SO ORDERED.

                                  21

                                  22   Dated: September 20, 2021.

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                                                                                             WILLIAM ALSUP
                                  25                                                         UNITED STATES DISTRICT JUDGE
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